Case 3:22-cv-00227-CEA-JEM Document 1 Filed 07/01/22 Page 1 of 6 PageID #: 1
Case 3:22-cv-00227-CEA-JEM Document 1 Filed 07/01/22 Page 2 of 6 PageID #: 2
Case 3:22-cv-00227-CEA-JEM Document 1 Filed 07/01/22 Page 3 of 6 PageID #: 3
Case 3:22-cv-00227-CEA-JEM Document 1 Filed 07/01/22 Page 4 of 6 PageID #: 4
Case 3:22-cv-00227-CEA-JEM Document 1 Filed 07/01/22 Page 5 of 6 PageID #: 5
Case 3:22-cv-00227-CEA-JEM Document 1 Filed 07/01/22 Page 6 of 6 PageID #: 6
